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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

CRYSTAL MASSENGILL,

       Plaintiff,

v.                                                          Case No. 2:22-cv-02687-MSN-cgc

CONCORDE CAREER COLLEGES,
INC.,

      Defendant.
______________________________________________________________________________

                                 JUDGMENT
______________________________________________________________________________

JUDGMENT BY COURT. This action came before the Court on Plaintiff’s Complaint (ECF

No. 1), filed October 6, 2022,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with the

Joint Stipulation of Dismissal with Prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), (ECF No.

23), filed June 25, 2024, this matter is hereby DISMISSED WITH PREJUDICE. Each party to

pay their own attorneys’ fees and discretionary costs.


APPROVED:

s/ Mark S. Norris
MARK S. NORRIS
UNITED STATES DISTRICT JUDGE

June 26, 2024
Date
